                           IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF NORTII CAROLINA
                                             SOUTHERN DMSION
                                              No. 7:16-CV-18-D


     FREDRIC N. ESHELMAN,                         )
                                                  )
                                Plaintiff,        )
                                                  )
                     v.                           )         VERDICT FORM
                                                  )
     PUMA BIOTECHNOLOGY, INC.                     )
                                                  )
                                Defendant.        )


            We the jury unanimously answer the issues as follows:

                                                  ISSUE 1
                                                                     .                               .
     1.     When read in the context of the entire presentatio~ were defendant Pwna Biotechnology,
            Inc.'s statements that plaintiff Fredric N. Eshelman was ''replaced as CEO of PPD" after
            being. ''involved in ~cal 1rial fraud" false?          ·

                 .
            ANSWER:         /      Yes            No
                                                   .



            Ifyou answered "No" to Issue 1, then the case is over. The foreperson should date and sign
            the verdict fQrm.

            Ifyou ans"Wered "Yes" to Issue 1, then answer Issue 2.




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                                          ISSUE2

2.   Did defendant Puma Biotechnology, Inc. act with actual malice when it accused plaintiff
     fredric N. Eshelman of being ''replaced as CEO of PPD" after being "involved in clinical
     trial fraud"?

     ANSWER:_,       /Yes
                                   - - No

     If you answered "Yes" to Issues 1 and 2, answer Issue 3.

     Ifyou answered "No" to Issue 1 or Is8ue 2, then the case is over. The foreperson should date
     and sign the verdict form.



                                          ISSUE3

3.   What amount of compensatory damages is plaintiff Fredric N. Eshelman entitled to recover
     from defendant Puma Biotechnology, Inc.?




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     These are our unanimous answers. So say we all. This       15. day of March 20~9.

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                                                  Signature of For~son




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